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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


 IN RE: BROILER CHICKEN ANTITRUST                  Case No. 18-cv-00702
 LITIGATION                                        Coordinated with Main Case No. 1:16-cv-08637



 THIS DOCUMENT RELATES TO:

 US FOODS, INC., et al.

 v.

 TYSON FOODS, INC. et al.

      JOINT MOTION AND STIPULATION FOR DISMISSAL WITH PREJUDICE

       Plaintiff US Foods, Inc. (“US Foods”) and Defendants George’s, Inc. and George’s Farms,

Inc. (collectively, “George’s”) have agreed to resolve US Foods’ claims against George’s. Pursu-

ant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties stipulate and jointly move the

Court to dismiss Plaintiff’s claims against George’s with prejudice. The parties shall bear their

respective fees and costs. The parties also respectfully request that any documents filed under seal

remain under seal.


Dated: January 11, 2021                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 11, 2021, he caused a true and correct

copy of the foregoing to be electronically filed with the Clerk of the Court using the CM/ECF

system, which will send notification of such filing to all counsel of record.

                                                              /s/ William L. Greene
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